Case 09-34791-PGH   Doc 1603-1   Filed 04/08/11   Page 1 of 28




EXHIBIT A
   Jane Doe 102 v. Jeffrey Epstein
             Complaint
Case 09-34791-PGH   Doc 1603-1   Filed 04/08/11   Page 2 of 28
Case 09-34791-PGH   Doc 1603-1   Filed 04/08/11   Page 3 of 28
Case 09-34791-PGH   Doc 1603-1   Filed 04/08/11   Page 4 of 28
Case 09-34791-PGH   Doc 1603-1   Filed 04/08/11   Page 5 of 28
Case 09-34791-PGH   Doc 1603-1   Filed 04/08/11   Page 6 of 28
Case 09-34791-PGH   Doc 1603-1   Filed 04/08/11   Page 7 of 28
Case 09-34791-PGH   Doc 1603-1   Filed 04/08/11   Page 8 of 28
Case 09-34791-PGH   Doc 1603-1   Filed 04/08/11   Page 9 of 28
Case 09-34791-PGH   Doc 1603-1   Filed 04/08/11   Page 10 of 28
Case 09-34791-PGH   Doc 1603-1   Filed 04/08/11   Page 11 of 28
Case 09-34791-PGH   Doc 1603-1   Filed 04/08/11   Page 12 of 28
Case 09-34791-PGH   Doc 1603-1   Filed 04/08/11   Page 13 of 28
Case 09-34791-PGH   Doc 1603-1   Filed 04/08/11   Page 14 of 28
Case 09-34791-PGH   Doc 1603-1   Filed 04/08/11   Page 15 of 28
Case 09-34791-PGH   Doc 1603-1   Filed 04/08/11   Page 16 of 28
Case 09-34791-PGH   Doc 1603-1   Filed 04/08/11   Page 17 of 28
Case 09-34791-PGH   Doc 1603-1   Filed 04/08/11   Page 18 of 28
Case 09-34791-PGH   Doc 1603-1   Filed 04/08/11   Page 19 of 28
Case 09-34791-PGH   Doc 1603-1   Filed 04/08/11   Page 20 of 28
Case 09-34791-PGH   Doc 1603-1   Filed 04/08/11   Page 21 of 28
Case 09-34791-PGH   Doc 1603-1   Filed 04/08/11   Page 22 of 28
Case 09-34791-PGH   Doc 1603-1   Filed 04/08/11   Page 23 of 28
Case 09-34791-PGH   Doc 1603-1   Filed 04/08/11   Page 24 of 28
Case 09-34791-PGH   Doc 1603-1   Filed 04/08/11   Page 25 of 28
Case 09-34791-PGH   Doc 1603-1   Filed 04/08/11   Page 26 of 28
Case 09-34791-PGH   Doc 1603-1   Filed 04/08/11   Page 27 of 28
Case 09-34791-PGH   Doc 1603-1   Filed 04/08/11   Page 28 of 28
